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                                 UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                                      No. 07 CR 00179 AWI

                    Plaintiff,
                                                               DETENTION ORDER
         v.                                                    (Violation of Supervised Release)

JOSE CONTRERAS MARIN,

                    Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of
supervised release; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court orders the above-named defendant detained and finds that:
   x     The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to flee; and/or

   X     The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to pose a danger to the safety of any other person or the community if
released under 18 U.S.C. § 3142(b) or (c).
         This finding is based on the reasons stated on the record.



IT IS SO ORDERED.

Dated:        November 5, 2014
                                                    UNITED STATES MAGISTRATE JUDGE
